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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA


     UNITED STATES OF AMERICA                 )
                                              )
              vs.                             )     Magistrate Cause No.: 2:05 MJ 189
                                              )     Criminal Cause No.: 2:05CR143
     RUDOLFO HEREDIA



                                    ORDER FOR DISMISSAL

                    Pursuant to Rule 48(a) of the Federal Rules of Criminal

                    Procedure and by leave of court endorsed hereon, the United

                    States Attorney for the Northern District of Indiana hereby

                    dismisses the    COMPLAINT                                      against

                         Rudolfo Heredia                 , defendant.


                                                  Joseph S. Van Bokkelen
                                                  United States Attorney



                                                  S/ Philip C. Benson
                                                  Philip C. Benson
                                                  Assistant United States Attorney


             Leave of Court is granted for the filing of the foregoing dismissal.


             Date: September 26, 2005


                                                  s/ Paul R. Cherry
                                                  PAUL R. CHERRY
                                                  United States Magistrate Judge
                                                  Northern District of Indiana
                                                  Hammond Division
